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 Attorneys for Defendants
 WYNDHAM WORLDWIDE
 CORPORATION, WYNDHAM
 VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION
 RESORTS, INC., MICHAEL JONAH
 and TOM VIRAG

                       IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAI`I

 LIANE WILSON and JOANNA                        Case No. CV 11-00538 LEK BMK
 WHEELER, on behalf of themselves
 and other females similarly situated,          NOTICE OF APPEARANCE OF
                                                COUNSEL; CERTIFICATE OF
                  Plaintiffs,                   SERVICE

            vs.

 WYNDHAM WORLDWIDE
 CORPORATION; WYNDHAM
 VACATION OWNERSHIP, INC.;
 WYNDHAM VACATION RESORTS,
 INC.; MICHAEL JONAH; MARK                      Caption Continued on Next Page
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 POLLARD; TOM VIRAG; DOE I
 through X, and ROE BUSINESS
 ENTITIES I through X, inclusive,

              Defendants.


                  NOTICE OF APPEARANCE OF COUNSEL

              MALIA E. KAKOS, with the law office of Alston Hunt Floyd & Ing,

 a law corporation, hereby enters appearance as counsel of record for Defendants

 WYNDHAM WORLDWIDE CORPORATION, WYNDHAM VACATION

 OWNERSHIP, INC., WYNDHAM VACATION RESORTS, INC., MICHAEL

 JONAH, and TOM VIRAG, in the above-captioned matter, and requests that all

 future communication involving this matter be served upon her at the address

 above. Please remove Zachary A. McNish from all future communication

 involving this matter.

              DATED: Honolulu, Hawai`i, April 5, 2012.


                                      /s/ Malia E. Kakos
                                      ANNA ELENTO-SNEED
                                      MALIA E. KAKOS

                                      Attorneys for Defendants
                                      WYNDHAM WORLDWIDE
                                      CORPORATION, WYNDHAM
                                      VACATION OWNERSHIP, INC.,
                                      WYNDHAM VACATION RESORTS,
                                      INC., MICHAEL JONAH and TOM VIRAG


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